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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LULAC TEXAS; VOTO LATINO;                      )
 TEXAS ALLIANCE FOR RETIRED                     )
 AMERICANS; TEXAS AFT,                          )
                                                )
       Plaintiffs,                              )
                                                )
 v.                                             )           CONSOLIDATED CASE
                                                )             5:21-cv-00844-XR
 JOSE ESPARZA, in his official capacity as      )
 the Texas Deputy Secretary of State; KEN       )
 PAXTON, in his official capacity as the        )
 Texas Attorney General; JACQUELYN              )
 CALLANEN, in her official capacity as the      )
 Bexar County Elections Administrator;          )
 DANA DeBEAUVOIR, in her official               )
 capacity as the Travis County Clerk;           )
 ISABEL LONGORIA, in her official               )
 capacity as the Harris County Elections        )
 Administrator; YVONNE RAMÓN, in her            )
 official capacity as the Hidalgo County        )
 Elections Administrator; MICHAEL               )
 SCARPELLO, in his official capacity as the     )
 Dallas County Elections Administrator;         )
 LISA WISE, in her official capacity as the     )
 El Paso County Elections Administrator,        )
                                                )
       Defendants.                              )

          DEFENDANT BEXAR COUNTY ELECTION ADMINISTATOR
      JACQUELYN CALLANEN’S ANSWER TO PLAINTIFFS’ FIRST AMENDED
                     COMPLAINT (DOCKET NO. 139)

       Now comes Defendant Bexar County Elections Administrator Jacquelyn Callanen, and

files this Original Answer to Plaintiffs’ Complaint for Declaratory and Injunctive Relief.

                                      GENERAL DENIAL

       Pursuant to Federal Rule of Civil Procedure 8(b), Defendant Callanen denies each and

every allegation contained in Plaintiff’s Complaint except those expressly admitted herein. The



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following specific admissions and denials are made to the corresponding paragraphs of Plaintiffs’

Complaint (docket no. 1 in consolidated case No. 5:21-cv-00848-XR).

            RESPONSES TO ALLEGATIONS IN PLAINTIFF’S COMPLAINT

                                     NATURE OF CASE

1.     Plaintiff’s allegations in Paragraph 1 are not directed toward Defendant Callanen, but in an

abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

2.     Plaintiff’s allegations in Paragraph 2 are not directed toward Defendant Callanen, but in an

abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

3.     Plaintiff’s allegations in Paragraph 3 are not directed toward Defendant Callanen, but in an

abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

4.     Plaintiff’s allegations in Paragraph 4 are not directed toward Defendant Callanen, but in an

abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

5.     Plaintiff’s allegations in Paragraph 5 are not directed toward Defendant Callanen, but in an

abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

6.     Plaintiff’s allegations in Paragraph 6 are not directed toward Defendant Callanen, but in an

abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

7.     Plaintiff’s allegations in Paragraph 7 are not directed toward Defendant Callanen, but in an

abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

8.     Plaintiff’s allegations in Paragraph 8 are not directed toward Defendant Callanen, but in an

abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

9.     Defendant admits that Bexar County made voting mega-centers available during the 2020

general election, and is without knowledge or information to admit or deny the remaining

allegations in paragraph 9.



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10.    Plaintiff’s allegations in Paragraph 10 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

11.    Plaintiff’s allegations in Paragraph 11 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

12.    Plaintiff’s allegations in Paragraph 12 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

13.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 13.

14.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 14.

15.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 15.

16.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 16.

17.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 17.

18.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 18.

19.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 19.

20.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 20.

21.    The allegations in Paragraph 21 state legal conclusions to which no response is required.



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22.    The allegations in Paragraph 22 state legal conclusions to which no response is required.

23.    The allegations in Paragraph 23 state legal conclusions to which no response is required.

24.    The allegations in Paragraph 24 state legal conclusions to which no response is required.

25.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 25.

26.    The allegations in Paragraph 26 state legal conclusions to which no response is required.

27.    The allegations in Paragraph 27 state legal conclusions to which no response is required.

28.    The allegations in Paragraph 28 state legal conclusions to which no response is required.

                                JURISDICTION AND VENUE

29.    Defendant Callanen admits that Plaintiff brings this action under the First, Fourteenth, and

Fifteenth Amendments to the U.S. Constitution, the Voting Rights Act of 1965, the Americans

with Disabilities Act of 1990, and Section 504 of the Rehabilitation Act of 1973.

30.    The allegations in Paragraph 30 state legal conclusions to which no response is required.

31.    The allegations in Paragraph 31 state legal conclusions to which no response is required.

32.    The allegations in Paragraph 32 state legal conclusions to which no response is required.

33.    The allegations in Paragraph 33 state legal conclusions to which no response is required.

                                           PARTIES

34.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 34.

35.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 35.

36.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 36.



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37.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 37.

38.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 38.

39.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 39.

40.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 40.

41.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 41.

42.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 42.

43.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 43.

44.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 44.

45.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 45.

46.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 46.

47.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 47.




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48.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 48.

49.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 49.

50.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 50.

51.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 51.

52.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 52.

53.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 53.

54.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 54.

55.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 55.

56.    The allegations in Paragraph 56 state legal conclusions to which no response is required.

57.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 57.

58.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 58.

59.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 59.



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60.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 60.

61.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 61.

62.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 62.

63.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 63.

64.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 64.

65.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 65.

66.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 66.

67.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 67.

68.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 68.

69.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 69.

70.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 70.




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II.    DEFENDANTS

71.    Defendant Callanen admits the allegations in Paragraph 71.

72.    Defendant Callanen admits the allegations in Paragraph 72.

73.    Defendant Callanen admits the allegations in Paragraph 73.

74.    Defendant Callanen admits the allegations in Paragraph 74.

75.    Defendant Callanen admits the allegations in Paragraph 75.

76.    Defendant Callanen admits the allegations in Paragraph 76.

77.    Defendant Callanen admits that Attorney General Paxton, along with the Secretary of State,

has some enforcement responsibilities under the Texas Election Code.

78.    The allegations in Paragraph 78 state legal conclusions to which no response is required.

79.    The allegations in Paragraph 79 state legal conclusions to which no response is required.

80.    Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 80.

81.    The allegations in Paragraph 81 state legal conclusions to which no response is required.

82.    The allegations in Paragraph 82 state legal conclusions to which no response is required.

GENERAL ALLEGATIONS

83.    Plaintiff’s allegations in Paragraph 83 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

84.    Plaintiff’s allegations in Paragraph 84 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

85.    Plaintiff’s allegations in Paragraph 85 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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86.    Plaintiff’s allegations in Paragraph 86 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

87.    Plaintiff’s allegations in Paragraph 87 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

88.    Plaintiff’s allegations in Paragraph 88 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

89.    Plaintiff’s allegations in Paragraph 89 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

90.    Plaintiff’s allegations in Paragraph 90 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

91.    Plaintiff’s allegations in Paragraph 91 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

92.    Plaintiff’s allegations in Paragraph 92 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

93.    Plaintiff’s allegations in Paragraph 93 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

94.    Plaintiff’s allegations in Paragraph 94 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

95.    Plaintiff’s allegations in Paragraph 95 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

96.    Plaintiff’s allegations in Paragraph 96 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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97.    Plaintiff’s allegations in Paragraph 97 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

98.    Plaintiff’s allegations in Paragraph 98 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

99.    Plaintiff’s allegations in Paragraph 99 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

100.   Plaintiff’s allegations in Paragraph 100 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

101.   Plaintiff’s allegations in Paragraph 101 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

102.   Plaintiff’s allegations in Paragraph 102 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

103.   Plaintiff’s allegations in Paragraph 103 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

104.   Plaintiff’s allegations in Paragraph 104 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

105.   Plaintiff’s allegations in Paragraph 105 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

106.   Plaintiff’s allegations in Paragraph 106 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

107.   Plaintiff’s allegations in Paragraph 107 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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108.   Plaintiff’s allegations in Paragraph 108 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

109.   Plaintiff’s allegations in Paragraph 109 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

110.   Plaintiff’s allegations in Paragraph 110 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

111.   Plaintiff’s allegations in Paragraph 111 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

112.   Plaintiff’s allegations in Paragraph 112 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

113.   Plaintiff’s allegations in Paragraph 113 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

114.   Plaintiff’s allegations in Paragraph 114 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

115.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 115.

116.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 116.

117.   Plaintiff’s allegations in Paragraph 117 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

118.   Plaintiff’s allegations in Paragraph 118 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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119.   Plaintiff’s allegations in Paragraph 119 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

120.   Plaintiff’s allegations in Paragraph 120 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

121.   Plaintiff’s allegations in Paragraph 121 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

122.   Plaintiff’s allegations in Paragraph 122 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

123.   Plaintiff’s allegations in Paragraph 123 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

124.   Plaintiff’s allegations in Paragraph 124 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

125.   Plaintiff’s allegations in Paragraph 125 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

126.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 126.

127.   The allegations in Paragraph 127 state legal conclusions to which no response is required.

128.   The allegations in Paragraph 128 state legal conclusions to which no response is required.

129.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 129.

130.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 130.




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131.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 131.

132.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 132.

133.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 133.

134.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 134.

135.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 135.

136.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 136.

137.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 137.

138.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 138.

139.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 139.

140.    Plaintiff’s allegations in Paragraph 140 are not directed toward Defendant Callanen, but

in an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

141.   Plaintiff’s allegations in Paragraph 141 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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142.   Plaintiff’s allegations in Paragraph 142 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

143.   Plaintiff’s allegations in Paragraph 143 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

144.   Plaintiff’s allegations in Paragraph 144 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

145.   Plaintiff’s allegations in Paragraph 145 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

146.   Plaintiff’s allegations in Paragraph 146 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

147.   Plaintiff’s allegations in Paragraph 147 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

148.   Plaintiff’s allegations in Paragraph 148 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

149.   Plaintiff’s allegations in Paragraph 149 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

150.   Plaintiff’s allegations in Paragraph 150 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

151.   Plaintiff’s allegations in Paragraph 151 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

152.   Plaintiff’s allegations in Paragraph 152 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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153.   Plaintiff’s allegations in Paragraph 153 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

154.   Plaintiff’s allegations in Paragraph 154 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

155.   Plaintiff’s allegations in Paragraph 155 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

156.   Plaintiff’s allegations in Paragraph 156 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

157.   Plaintiff’s allegations in Paragraph 157 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

158.   Plaintiff’s allegations in Paragraph 158 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

159.   Plaintiff’s allegations in Paragraph 159 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

160.   Plaintiff’s allegations in Paragraph 160 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

161.   Plaintiff’s allegations in Paragraph 161 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

162.   Plaintiff’s allegations in Paragraph 162 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

163.   Plaintiff’s allegations in Paragraph 163 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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164.   Plaintiff’s allegations in Paragraph 164 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

165.   Plaintiff’s allegations in Paragraph 165 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

166.   Plaintiff’s allegations in Paragraph 166 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

167.   Plaintiff’s allegations in Paragraph 167 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

168.   Plaintiff’s allegations in Paragraph 168 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

169.   Plaintiff’s allegations in Paragraph 169 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

170.   Plaintiff’s allegations in Paragraph 170 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

171.   Plaintiff’s allegations in Paragraph 171 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

172.   Plaintiff’s allegations in Paragraph 172 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

173.   Plaintiff’s allegations in Paragraph 173 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

174.   Plaintiff’s allegations in Paragraph 174 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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175.   Plaintiff’s allegations in Paragraph 175 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

176.   Plaintiff’s allegations in Paragraph 176 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

177.   Plaintiff’s allegations in Paragraph 177 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

178.   Plaintiff’s allegations in Paragraph 178 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

179.   Plaintiff’s allegations in Paragraph 179 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

180.   Plaintiff’s allegations in Paragraph 180 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

181.   Plaintiff’s allegations in Paragraph 181 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

182.   Plaintiff’s allegations in Paragraph 182 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

183.   Plaintiff’s allegations in Paragraph 183 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

184.   Plaintiff’s allegations in Paragraph 184 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

185.   Plaintiff’s allegations in Paragraph 185 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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186.   Plaintiff’s allegations in Paragraph 186 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

187.   Plaintiff’s allegations in Paragraph 187 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

188.   Plaintiff’s allegations in Paragraph 188 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

189.   Plaintiff’s allegations in Paragraph 189 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

190.   Plaintiff’s allegations in Paragraph 190 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

191.   Plaintiff’s allegations in Paragraph 191 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

192.   The allegations in Paragraph 192 state legal conclusions to which no response is required.

193.   The allegations in Paragraph 193 state legal conclusions to which no response is required.

194.   The allegations in Paragraph 194 state legal conclusions to which no response is required.

195.   Plaintiff’s allegations in Paragraph 195 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

196.   The allegations in Paragraph 196 state legal conclusions to which no response is required.

197.   The allegations in Paragraph 197 state legal conclusions to which no response is required.

198.   The allegations in Paragraph 198 state legal conclusions to which no response is required.

199.   Plaintiff’s allegations in Paragraph 199 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.




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200.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 200.

201.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 201.

202.   Plaintiff’s allegations in Paragraph 202 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

203.   Plaintiff’s allegations in Paragraph 203 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

204.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 204.

205.   Defendant Callanen admits that during the 2020 presidential election, most Bexar County

voters cast their ballots during the early voting period. Defendant Callanen admits that the

population of Bexar County is approximately 60.7 Latino and 8.6 percent Black. The remainder

of the allegations in paragraph 205 state legal conclusions to which no response is required.

206.   The allegations in Paragraph 206 state legal conclusions to which no response is required.

207.   The allegations in Paragraph 207 state legal conclusions to which no response is required.

208.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 208.

209.   The allegations in Paragraph 209 state legal conclusions to which no response is required.

210.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 210.

211.   The allegations in Paragraph 211 state legal conclusions to which no response is required.




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212.   Plaintiff’s allegations in Paragraph 212 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

213.   The allegations in Paragraph 213 state legal conclusions to which no response is required.

214.   The allegations in Paragraph 214 state legal conclusions to which no response is required.

215.   The allegations in Paragraph 215 state legal conclusions to which no response is required.

216.   The allegations in Paragraph 216 state legal conclusions to which no response is required.

217.   The allegations in Paragraph 217 state legal conclusions to which no response is required.

218.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 218.

219.   The allegations in Paragraph 219 state legal conclusions to which no response is required.

220.   The allegations in Paragraph 220 state legal conclusions to which no response is required.

221.   The allegations in Paragraph 221 state legal conclusions to which no response is required.

222.   The allegations in Paragraph 222 state legal conclusions to which no response is required.

223.   The allegations in Paragraph 223 state legal conclusions to which no response is required.

224.   Plaintiff’s allegations in Paragraph 224 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.

225.   The allegations in Paragraph 225 state legal conclusions to which no response is required.

226.   The allegations in Paragraph 226 state legal conclusions to which no response is required.

227.   The allegations in Paragraph 227 state legal conclusions to which no response is required.

228.   The allegations in Paragraph 228 state legal conclusions to which no response is required.

229.   The allegations in Paragraph 229 state legal conclusions to which no response is required.

230.   The allegations in Paragraph 230 state legal conclusions to which no response is required.

231.   The allegations in Paragraph 231 state legal conclusions to which no response is required.



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232.   The allegations in Paragraph 232 state legal conclusions to which no response is required.

233.   The allegations in Paragraph 233 state legal conclusions to which no response is required.

234.   The allegations in Paragraph 234 state legal conclusions to which no response is required.

235.   The allegations in Paragraph 235 state legal conclusions to which no response is required.

236.   The allegations in Paragraph 236 state legal conclusions to which no response is required.

237.   The allegations in Paragraph 237 state legal conclusions to which no response is required.

238.   The allegations in Paragraph 238 state legal conclusions to which no response is required.

239.   The allegations in Paragraph 239 state legal conclusions to which no response is required.

240.   The allegations in Paragraph 240 state legal conclusions to which no response is required.

241.   The allegations in Paragraph 241 state legal conclusions to which no response is required.

242.   The allegations in Paragraph 242 state legal conclusions to which no response is required.

243.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 243.

244.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 244.

245.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 245.

246.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 246.

247.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 247.

248.   Plaintiff’s allegations in Paragraph 248 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.



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249.   Plaintiff’s allegations in Paragraph 249 are not directed toward Defendant Callanen, but in

an abundance of caution, Defendant Callanen denies any allegations that could pertain to her.



                                   CLAIMS FOR RELIEF

                                            Count 1

                       Violation of the First and Fourteenth Amendment
                       U.S. Const. amend. I and XIV; 42 U.S.C. § 1983
                             (Undue Burden on the Right to Vote)

250.   In response to Paragraph 250, Defendant Callanen incorporates by reference all of her

former responses.

251.   The allegations in Paragraph 251 state legal conclusions to which no response is required.

252.   The allegations in Paragraph 252 state legal conclusions to which no response is required.

253.   The allegations in Paragraph 253 state legal conclusions to which no response is required.

254.   The allegations in Paragraph 254 state legal conclusions to which no response is required.

255.   The allegations in Paragraph 255 state legal conclusions to which no response is required.

256.   The allegations in Paragraph 256 state legal conclusions to which no response is required.

257.   The allegations in Paragraph 257 state legal conclusions to which no response is required.

258.   The allegations in Paragraph 258 state legal conclusions to which no response is required.

259.   The allegations in Paragraph 259 state legal conclusions to which no response is required.

260.   The allegations in Paragraph 260 state legal conclusions to which no response is required.

261.   The allegations in Paragraph 261 state legal conclusions to which no response is required.

262.   The allegations in Paragraph 262 state legal conclusions to which no response is required.

263.   The allegations in Paragraph 263 state legal conclusions to which no response is required.

264.   The allegations in Paragraph 264 state legal conclusions to which no response is required.



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265.   The allegations in Paragraph 265 state legal conclusions to which no response is required.

266.   The allegations in Paragraph 266 state legal conclusions to which no response is required.

267.   The allegations in Paragraph 267 state legal conclusions to which no response is required.

268.   The allegations in Paragraph 268 state legal conclusions to which no response is required.

269.   The allegations in Paragraph 269 state legal conclusions to which no response is required.

                                        COUNT TWO

                           Violation of the Fourteenth Amendment
                          U.S. Const. amend. XIV; 42 U.S.C. § 1983
                         (Intentional Race Discrimination in Voting)

270.   In response to Paragraph 270, Defendant Callanen incorporates by reference all of her

former responses.

271.   The allegations in Paragraph 271 state legal conclusions to which no response is required.

272.   The allegations in Paragraph 272 state legal conclusions to which no response is required.

273.   The allegations in Paragraph 273 state legal conclusions to which no response is required.

274.   The allegations in Paragraph 274 state legal conclusions to which no response is required.

275.   The allegations in Paragraph 275 state legal conclusions to which no response is required.

276.   The allegations in Paragraph 276 state legal conclusions to which no response is required.

277.   The allegations in Paragraph 277 state legal conclusions to which no response is required.

278.   The allegations in Paragraph 278 state legal conclusions to which no response is required.

279.   The allegations in Paragraph 279 state legal conclusions to which no response is required.

280.   The allegations in Paragraph 280 state legal conclusions to which no response is required.

281.   The allegations in Paragraph 281 state legal conclusions to which no response is required.

282.   The allegations in Paragraph 282 state legal conclusions to which no response is required.

283.   The allegations in Paragraph 283 state legal conclusions to which no response is required.



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284.   The allegations in Paragraph 284 state legal conclusions to which no response is required.

285.   The allegations in Paragraph 285 state legal conclusions to which no response is required.

286.   The allegations in Paragraph 286 state legal conclusions to which no response is required.

287.   The allegations in Paragraph 287 state legal conclusions to which no response is required.

288.   The allegations in Paragraph 288 state legal conclusions to which no response is required.

289.   The allegations in Paragraph 289 state legal conclusions to which no response is required.

                                       COUNT THREE

                             Violation of the Fifteenth Amendment
                           U.S. Const. amend. XV; 42 U.S.C. § 1983
                          (Intentional Race Discrimination in Voting)

290.   In response to Paragraph 290, Defendant Callanen incorporates by reference all of her

former responses.

291.   The allegations in Paragraph 291 state legal conclusions to which no response is required.

292.   The allegations in Paragraph 292 state legal conclusions to which no response is required.

293.   The allegations in Paragraph 293 state legal conclusions to which no response is required.

294.   The allegations in Paragraph 294 state legal conclusions to which no response is required.

295.   The allegations in Paragraph 295 state legal conclusions to which no response is required.

296.   The allegations in Paragraph 296 state legal conclusions to which no response is required.

297.   The allegations in Paragraph 297 state legal conclusions to which no response is required.

298.   The allegations in Paragraph 298 state legal conclusions to which no response is required.

299.   The allegations in Paragraph 299 state legal conclusions to which no response is required.

300.   The allegations in Paragraph 300 state legal conclusions to which no response is required.

                                       COUNT FOUR

                        Violation of Section 2 of the Voting Rights Act
                                  52 U.S.C. § 10301, et seq.


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                      (Intentional Racial Discrimination and Vote Denial)

301.   In response to Paragraph 301, Defendant Callanen incorporates by reference all of her

former responses.

302.   The allegations in Paragraph 302 state legal conclusions to which no response is required.

303.   The allegations in Paragraph 303 state legal conclusions to which no response is required.

304.   The allegations in Paragraph 304 state legal conclusions to which no response is required.

305.   The allegations in Paragraph 305 state legal conclusions to which no response is required.

306.   The allegations in Paragraph 306 state legal conclusions to which no response is required.

307.   The allegations in Paragraph 307 state legal conclusions to which no response is required.

308.   The allegations in Paragraph 308 state legal conclusions to which no response is required.

309.   The allegations in Paragraph 309 state legal conclusions to which no response is required.

310.   The allegations in Paragraph 310 state legal conclusions to which no response is required.

311.   The allegations in Paragraph 311 state legal conclusions to which no response is required.

312.   The allegations in Paragraph 312 state legal conclusions to which no response is required.

313.   The allegations in Paragraph 313 state legal conclusions to which no response is required.

314.   The allegations in Paragraph 314 state legal conclusions to which no response is required.

315.   The allegations in Paragraph 315 state legal conclusions to which no response is required.

316.   The allegations in Paragraph 316 state legal conclusions to which no response is required.

317.   The allegations in Paragraph 317 state legal conclusions to which no response is required.




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                                        COUNT FIVE

                       Violation of Section 208 of the Voting Rights Act
                                      52 U.S.C. § 10508
                                 (Right to Assistor of Choice)

318.   In response to Paragraph 318, Defendant Callanen incorporates by reference all of her

former responses.

319.   The allegations in Paragraph 319 state legal conclusions to which no response is required.

320.   The allegations in Paragraph 320 state legal conclusions to which no response is required.

321.   The allegations in Paragraph 321 state legal conclusions to which no response is required.

322.   The allegations in Paragraph 322 state legal conclusions to which no response is required.

323.   The allegations in Paragraph 323 state legal conclusions to which no response is required.

324.   The allegations in Paragraph 324 state legal conclusions to which no response is required.

325.   The allegations in Paragraph 325 state legal conclusions to which no response is required.

326.   The allegations in Paragraph 326 state legal conclusions to which no response is required.

                                         COUNT SIX

                             Violation of Fourteenth Amendment
                          U.S. Const. amend. XIV, 42 U.S.C. §1983
                         (Void for Vagueness, Denial of Due Process)

327.   In response to Paragraph 327, Defendant Callanen incorporates by reference all of her

former responses.

328.   The allegations in Paragraph 328 state legal conclusions to which no response is required.

329.   The allegations in Paragraph 329 state legal conclusions to which no response is required.

330.   The allegations in Paragraph 330 state legal conclusions to which no response is required.

331.   The allegations in Paragraph 331 state legal conclusions to which no response is required.

332.   The allegations in Paragraph 332 state legal conclusions to which no response is required.



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333.   The allegations in Paragraph 333 state legal conclusions to which no response is required.

334.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 334.

335.   Defendant Callanen is without sufficient knowledge or information to admit or deny the

allegations in Paragraph 335.

336.    The allegations in Paragraph 336 state legal conclusions to which no response is required.

                                       COUNT SEVEN

                                     Against All Defendants
                        Title II of the Americans with Disabilities Act
                                  (42 U.S.C. § 12131, et seq.)
  (Discrimination on the basis of disability; Failure to Provide Reasonable Accommodations)

337.   In response to Paragraph 337, Defendant Callanen incorporates by reference all of her

former responses.

338.   The allegations in Paragraph 338 state legal conclusions to which no response is required.

339.   The allegations in Paragraph 339 state legal conclusions to which no response is required.

340.   The allegations in Paragraph 340 state legal conclusions to which no response is required.

341.   The allegations in Paragraph 341 state legal conclusions to which no response is required.

342.   The allegations in Paragraph 342 state legal conclusions to which no response is required.

343.   The allegations in Paragraph 343 state legal conclusions to which no response is required.

344.   The allegations in Paragraph 344 state legal conclusions to which no response is required.

345.   The allegations in Paragraph 345 state legal conclusions to which no response is required.

346.   The allegations in Paragraph 346 state legal conclusions to which no response is required.

347.   The allegations in Paragraph 347 state legal conclusions to which no response is required.

348.   The allegations in Paragraph 348 state legal conclusions to which no response is required.

349.   The allegations in Paragraph 349 state legal conclusions to which no response is required.


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350.    The allegations in Paragraph 350 state legal conclusions to which no response is required.

351.    The allegations in Paragraph 351 state legal conclusions to which no response is required.

352.    The allegations in Paragraph 352 state legal conclusions to which no response is required.

353.    The allegations in Paragraph 353 state legal conclusions to which no response is required.

                                            COUNT EIGHT

                                    Against All Defendants
                         Section 504 of the Rehabilitation Act of 1973
                                        29 U.S.C. § 794
    (Discrimination on the Basis of Disability by Recipients of Federal Financial Assistance)

354.    In response to Paragraph 354, Defendant Callanen incorporates by reference all of her

former responses.

355.    The allegations in Paragraph 355 state legal conclusions to which no response is required.

356.    The allegations in Paragraph 356 state legal conclusions to which no response is required.

357.    The allegations in Paragraph 357 state legal conclusions to which no response is required.

358.    The allegations in Paragraph 358 state legal conclusions to which no response is required.

359.    The allegations in Paragraph 259 state legal conclusions to which no response is required.

360.    The allegations in Paragraph 260 state legal conclusions to which no response is required.

361.    The allegations in Paragraph 261 state legal conclusions to which no response is required.

362.    The allegations in Paragraph 262 state legal conclusions to which no response is required.

363.    The allegations in Paragraph 263 state legal conclusions to which no response is required.

364.    The allegations in Paragraph 264 state legal conclusions to which no response is required.

365.    The allegations in Paragraph 365 state legal conclusions to which no response is required.

                                       PRAYER FOR RELIEF

        Defendant Callanen denies that she has taken any action that violated Plaintiffs’ rights or

that Plaintiffs are entitled to relief against her.


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                      RIGHT TO RAISE ADDITIONAL DEFENSES

       Defendant Callanen reserves the right to raise affirmative and other defenses that may

become apparent throughout the factual development of this case.

                                       JURY DEMAND

             Defendant Callanen demands a trial by jury as to all issues so triable.

                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant Callanen prays that Plaintiffs

take nothing from Bexar County by way of their suit.


                                                    Respectfully Submitted,
                                                    JOE GONZALES
                                                    Bexar County Criminal District Attorney

                                            By:       /s/ Robert Green
                                                    ROBERT GREEN
                                                    Bar No. 24087626
                                                    Assistant District Attorney, Civil Division
                                                    101 W. Nueva, 7th Floor
                                                    San Antonio, Texas 78205
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                                                    robert.green@bexar.org
                                                    Attorney for Defendant Bexar County
                                                    Elections Administrator Jacquelyn Callanen




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                               CERTIFICATE OF SERVICE

        I do hereby certify that, on the 15th day of December, 2021, I electronically filed the
foregoing document with the Clerk of Court using the CM/ECF system, which provided electronic
service upon all parties.

                                                    /s/ Robert Green
                                                   ROBERT GREEN




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